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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the

                                                __________ District of __________
JERRY BAUDIN, JOSEPHINE DUFFNEY and
KARISHMA PERSAUD, individually and on behalf of all
other similarly situated individuals,                            )
                                                                 )
                             Plaintiff
                                                                 )
                                v.                               )       Civil Action No. 1:19-CV-386 [MAD/CFH]
                                                                 )
        RESOURCE MARKETING CORP., LLC                            )
                            Defendant
                                                                 )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
RESOURCE MARKETING CORP., LLC
c/o Harvard Business Services, Inc.,
16192 Coastal Hwy
Lewes, Delaware 19958.



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                     BROWN LLC                           SOMMERS SCHWARTZ, P.C.
                                     111 Town Square Place, Suite 400    One Town Square, Suite 1700
                                     Jersey City, NJ 07310               Southfield, Michigan 48076


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date: 4/1/2019                                                            s/ Jennifer Painter
                                                                                     Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           ’ I returned the summons unexecuted because                                                                             ; or

           ’ Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:
